Case 2:21-cv-06864-AB-JDE Document 1-1 Filed 08/25/21 Page 1 of 14 Page ID #:8




                                 EXHIBIT 1
Case 2:21-cv-06864-AB-JDE Document 1-1 Filed 08/25/21 Page 2 of 14 Page ID #:9



                                                                                                                                              SUM-100
                                            SUMMONS                                                                  rota           inumsmy,
                                                                                                                  CON                   beixecTRTE)
                                     (CITACION JUDICIAL)                                                            ORIGINAL FILED
                                                                                                                 Superior Court of California
                                                                                                                   County of Los Angeles
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
                                                                                                                         JUL 1 6 2021
PHILLIP MORRIS LA h,

                                                                                                              Sh rri R. Carter, Executive Officer/Cleric
YOU ARE BEING SUED BY PLAINTIFF:                                                                                     By: Nancy Alvarez, Deputy
(LO ESTA DEMANDANDO EL DEMANDANTE):
ISABEL CAMPOS
                                   -4-40-&-S----1 --1-°
NOTICE! You have been sued. The court may decide against you WILIIUUL your being   •            I
                                                                                                  H ebb you f ebpUl IU within
                                                                                                 unless                     days.     Read the information
below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (wvvw.lawhelpcalifomia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
,AVISO! Lo han demandado. Si no responde dentro de 30 dfas, la code puede decidir en su contra sin escuchar su version. Lea la informaci6n a
continuation.
   Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citation y papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carte o una Ilamada telefonica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la code y mas informacion en el Centro de Ayuda de las Codes de California (www.sucorte.ca.gov), en la
biblioteca de leyes de su condado o en la code que le quede mas cerca. Si no puede pagar la cuota de presentaciOn, pida al secretario de la corte que
le de un formulario de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la cone le padre
guitar su sueldo, dinero y bienes sin mas advertencia.
   Hay otros requisitos legales. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
remisien a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de las Codes de California, (www.sucorte.ca.gov)o poniendose en contacto con la code o el
colegio de abogados locales. AVISO: Por ley, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperaciOn de $10,000 0 mas de valor recibida mediante un acuerdo o una concesion de arbitraje en un caso de derecho                  Tiene que
pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
The name and address of the court is:                                                                   CASE NUMBER: (Numero del Caso):
(El nombre y direction de la corte es):
CALIFORNIA SUPERIOR COURT 111 N HILL ST LOS ANGELES CA 90012
                                                                                                                  s.T-cy -32 2 a)
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is: (El nombre, la direcciOn y el numero
de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
ISABEL CAMPOS 8407 CEDROS AVE #3 LOS ANGELES CA 91402 818-269-1374
DATE:                                                                                   Clerk, by                                                    Deputy
(Fecha)                          JUL 1 6 2021            SHERRI R. CARTER               (Secretario)                                                (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
                                       NOTICE TO THE PERSON SERVED: You are served
 [SEAL]
                                       1.        as an individual defendant.
                                       2.        as the person sued under the fictitious name of (specify):

                                       3.        on behalf of (specify):
                                            under:       CCP 416.10 (corporation)                                 CCP 416.60 (minor)
                                                         CCP 416.20 (defunct corporation)                         CCP 416.70 (conservatee)
                                                        CCP 416.40 (association or partnership)                   CCP 416.90 (authorized person)
                                                  nother      (specify):
                                       4.        by personal delivery on (date):
                                                                                                                                                       Page 1 of 1
Form Adopted for Mandatory Use
Judicial Council of California
                                                                     SUMMONS                                                 Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                 www.courts.ca.gov
SUM-100 [Rev. July 1, 2009]

For your protection and privacy, please press the Clear
This Form button after you have printed the form.              I Print this form I I Save this form I                                I' Clear this form I

                                                                                                                                                           Exhibit 1
                                                                                                                                                               6
 Case 2:21-cv-06864-AB-JDE Document 1-1 Filed 08/25/21 Page 3 of 14 Page ID #:10
       ,               .          . .... .             10.11110, oldie   Der numper,, and address):
        ISABEL CAMPOS 8407 CEDROS AVE # 3 LOS ANGELES CA 91402                                                                                      FOR COURT USE ONLY




                           LEPHONE NO.:      818-269-1374                           FAX NO. (Optional):
                ATTORNEY FOR (Name):         IN PROPER                                                                                      CONFORMEO COPY
       SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                                                                                                                             ORIGINAL FILD
                                                                                                                                          Superior C,)olitt of Callfarnitl
           STREET ADDRESS: 1 1 1        N HILL ST                                                                                           county 01 Lot; Antjelbg
       MAILING ADDRESS:
       CITY AND ZIP CODE: LOS             ANGELES 90012                                                                                             JUL 1 6 2021
                BRANCH NAME: STANLEY          MUSK
       CASE NAME:                                                                                                                    Sherri H. Carter, Executive
                                                                                                                                                                 oiti4.01/Q14y4
       CAMPOS v. PHILIP MORRIS 1
                               4/A c                                                                                                       By: Nancy Alvarez, Deputy
          CIVIL CASE COVER SHEET                        Complex Case Designation             CASE NUMBER:
          Unlimited
           at                      Limited                                                   19STCV32280
                                                            Counter                Joinder
          (Amount                  (Amount
          demanded                 demanded is      Filed with first appearance by defendant
                                                        (Cal. Rules of Court, rule 3.402)
                                                                                             JUDGE:     C Q 1-1-6                                                   Gct)                    H
          exceeds $25,000)         $25,000)                                                   DEPT.:    .S
                                    Items 1-6 below must be completed (see instructions on page 2).
       1 Check one box below for the case type that best describes this case:
            Auto Tort                                                          Contract                                      Provisionally Complex Civil Litigation
                  Auto (22)                                                             Breach of contract/warranty (06)     (Cal. Rules of Court, rules 3.400-3.403)
                  Uninsured motorist (46)                                                                                           Antitrust/Trade regulation (03)
                                                                                        Rule 3.740 collections (09)
            Other PI/PD/WD (Personal Injury/Property
                                                                                        Other collections (09)                      Construction defect (10)
            Damage/Wrongful Death) Tort
                                                                                        Insurance coverage (18)                     Mass tort (40)
                       Asbestos (04)
                                                                                     Other contract (37)                            Securities litigation (28)
                 ae    Product liability (24)
                                                                               Real Property                                       Environmental/Toxic tort (30)
                       Medical malpractice (45)
                                                                                        Eminent domain/Inverse                     Insurance coverage claims arising from the
                  Other PI/PD/WD (23)                                                   condemnation (14)                          above listed provisionally complex case
            Non-PI/PD/WD (Other) Tort                                               Wrongful eviction (33)                         types (41)
                                                                                                                             Enforcement of Judgment
                      Business tort/unfair business practice (07                    Other real property (26)
                at    Civil rights (08)                                                                                            Enforcement of judgment (20)
                                                                               Unlawful Detainer
                                                                                                                             Miscellaneous Civil Complaint
                      Defamation (13)                                                  Commercial (31)
                                                                                                                                   RICO (27)
                      Fraud (16)                                                       Residential (32)
                                                                                                                                   Other complaint (not specified above) (42)
                      Intellectual property (19)                                    Drugs (38)
                      Professional negligence (25)                            Judicial Review                                Miscellaneous Civil Petition

                Other non-Pl/PD/WD tort (35)                                           Asset forfeiture (05)                       Partnership and corporate governance (21)
           Employment                                                                  Petition re: arbitration award (11)         Other petition (not specified above) (43)
                      Wrongful termination (36)                                        Writ of mandate (02)
                      Other employment (15)                                            Other judicial review (39)
  2. This case         is            is not  complex under rule 3.400 of the California Rules of Court. If the case is complex,
    factors requiring exceptional judicial management:                                                                             mark the
    a.        Large number of separately represented parties       d.         Large number of witnesses
    b.        Extensive motion practice raising difficult or novel e.         Coordination with related actions pending in one or more
              issues that will be time-consuming to resolve                   courts in other counties, states, or countries, or in a federal
    c.        Substantial amount of documentary evidence                      court
                                                                   f.         Substantial postjudgment judicial supervision
 3. Remedies sought (check all that apply): a. tt monetary b.
                                                                           nonmonetary; declaratory or injunctive relief c.          punitive
 4. Number of causes of action (specify):
 5. This case         is            is not  a class action suit.
 6. If there are any known related cases, file and serve a notice of related
                                                                             case. (You may use form CM-015.)
Date: 9/21/2019
ISABEL CAMPOS
                                                                                                                                      P•••14  .
                                     (TYPE OR PRINT NAME)
                                                                                                                                   GNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                        NOTICE
   • Plaintiff must file this cover sheet with the first paper filed in the action or
                                                                                      proceeding (except small claims cases or cases filed
     under the Probate Code, Family Code, or Welfare and Institutions Code).
                                                                                       (Cal. Rules of Court, rule 3.220.) Failure to file may result
     in sanctions.
  O File this cover sheet in addition to any cover sheet required by local
                                                                                 court rule.
  o If this case is complex under rule 3.400 et seq. of
                                                            the California Rules of Court, you must serve a copy of this cover sheet on
     other parties to the action or proceeding.                                                                                              all
  • Unless this is a collections case under rule 3.740 or a complex case, this
                                                                                      cover sheet will be used for statistical purposes only.
                                                                                                                                                                                 Page 1 of 2
Form Adopted for Mandatory Use
Judicial Council of California                                                 CIVIL CASE COVER SHEET                               Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
                                                                                                                                            Cal. Standards of Judicial Administration, std. 3.10



                                                                                                                                                                                          Exhibit 1
                                                                                                                                                                                              7
        Case 2:21-cv-06864-AB-JDE Document 1-1 Filed 08/25/21 Page 4 of 14 Page ID #:11



                         SHC0,11- TITLE.
                                                                                                                           CASE NUMBER
                         CAMPOS v. PHILIP MORRIS li,                         4     m r,                                    19STCV32280

                                                CIVIL CASE COVER SHEET ADDENDUH AND STATERilENT OF LoCATIO
                                                                                                           N
                                             (CE TIFICATE I F GROUNDS FOR ASSIGNIVIENT TO CitURTHOUSE
                                                                                                      LOCATIO          NL_
        This form is required pursuant to LASC Local Rule 2.0 in all new civil case filings
                                                                                                  in the Los Angeles Superior Court.
      Item I. Check the types of hearing and fill in the estimated length of hearing expected
                                                                                              for this case:
            JURY TRIAL?                    I YES   CLASS ACTION?         I       YES
                                                          LIMITED CASE? I IVES TIME ESTIMATED FOR TRIAL 10 / 4         111 HOURS/ 0 DAYS
      Item II. Select the correct district and courthouse location (4 steps — If you checked "Limited
                                                                                                      Case", skip to Item III, Pg. 4):
      Step 1: After first completing the Civil Case Cover Sheet Form, find the main civil case cover sheet heading
                                                                                                                          for your case in
      the left margin below, and, to the right in Column A, the Civil Case Cover Sheet case
                                                                                                type you selected.
      Step 2: Check one Superior Court type of action in Column B below which best describes the nature
                                                                                                                 of this case.
      Step 3: In Column C, circle the reason for the court location choice that applies to the type of action
                                                                                                                you have checked.
      For any exception to the court location, see Los Angeles Superior Court Local Rule
                                                                                             2.0.
                                            Applicable Reas • ns for Choosing Courthouse Location (see Column C below)
                    1.   Class Actions must be filed in the County Courthouse, Central District.
                    2.   May be filed in Central (Other county, or no Bodily Injury/Property Damage).                6. Location of property or permanently garaged vehicle.
                    3.   Location where cause of action arose.                                                       7. Location where petitioner resides.
                    4.   Location where bodily injury, death or damage occurred.                                     8. Location wherein defendant/respondent functions wholly.
                    5.   Location where performance required or defendant resides.                                   9. Location where one or more of the parties reside.
                                                                                                                     10. Location of Labor Commissioner Office.

      St

                                     A                                                                     ,                                                       C
                     Civil Case Cover Sheet           Type of Action
                           Category No.                                                                                                              Applicable Reasons -
                                                                                                (Check only one)
      Auto Tort




                                                                                                                                                      See Step 3 Above

                                 Auto (22)                  E A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death
                                                                                                                                                    1., 2., 4.

                     Uninsured Motorist (46)                E A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motorist             1., 2., 4.

                                                        E A6070 Asbestos Property Damage                                                            2.
                             Asbestos (04)
                                                        E A7221 Asbestos - Personal Injury/Wrongful Death
                                                                                                                                                    2.
                         Product Liability (24)              l    A7260 Product Liability (not asbestos or toxic/environmental)
                                                                                                                                                    1., 2., 3., 4., 8.

                    Medical Malpractice (45)            •         A7210 Medical Malpractice - Physicians & Surgeons                                 1., 2., 4.
rd
                                                        0        A7240 Other Professional Health Care Malpractice
                                                                                                                                                    1., 2., 4.
(?)                                                     •        A7250 Premises Liability (e.g., slip and fall)
                               Other                                                                                                                1., 2., 4.
                                                        •        A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                           Personal Injury
                          Property Damage                         assault, vandalism, etc.)
                                                                                                                                                    1. 2., 4.
                           Wrongful Death               E A7270 Intentional Infliction of Emotional Distress
                                (23)                                                                                                                1., 2., 3
                                                        El A7220 Other Personal Injury/Property Damage/Wrongful Death
                                                                                                                                                    1., 2., 4.

                         Business Tort (07)
                                                        •        A6029       Other Commercial/Business Tort (not fraud/breach of contract)          1., 2., 3.
                          Civil Rights (08)
                                                        •        A6005       Civil Rights/Discrimination                                           1., 2., 3.
                          Defamation (13)
                                                        •        A6010 Defamation (slander/libel)
                                                                                                                                                   1., 2., 3.
                              Fraud (16)                CI A6013 Fraud (no contract)
                                                                                                                                                   1., 2., 3.




                  CIV 109 03-04 (Rev. 03/06)                           CIVIL CASE COVER SHEET ADDENDUM                                                           LASC, rule 2.0
                  LASC Approved                                           AND STATEMENT OF LOCATION                                                                Page 1 of 4




                                                                                                                                                                                  Exhibit 1
                                                                                                                                                                                      8
                                    Case 2:21-cv-06864-AB-JDE Document 1-1 Filed 08/25/21 Page 5 of 14 Page ID #:12



                                               SHCRT TITLE:
                                                                                                                                                CASE NUMBER
                                              CAMPOS v. PHILIP MORRIS                      (.4 4.. A I A) C_                                   19STCV32280


                                              Civil CaseA
                                                        Cover                                                                   B                                                               C
                                              Sheet Category No.                                                          Type of Action                                            Applicable Reasons
                                                                              _, ____,=,=,,_                             (Check only one)                                            -See Step 3 Above
                                                                                                                                                ,........................ -
                      0
                      •
                                                    Professional                  •      A6017 Legal Malpractice
                                                    Negligence                                                                                                                   1., 2., 3.
                        0
                                                        (25)                      •      A6050 Other Professional Malpractice (not medical or legal)                             1., 2., 3.
                 0.                     C
                                        0
                      0                              Other (35)                   •     A6025 Other Non-Personal Injury/Property Damage tort
                                                                                                                                                                                2.,3.

                                    C          Wrongful Termination
                                                      (36)                        •     A6037 Wrongful Termination
                             E                                                                                                                                                  1., 2., 3.
                            0                   Other Employment
                            0                          (15)                       •      A6024 Other Employment Complaint Case
                            wE
                                                                                                                                                                                1., 2., 3.
                                                                                  •     A6109     Labor Commissioner Appeals
                                                                                                                                                                                10.
                                                Breach of Contract/           .         A6004 Breach of Rental/Lease Contract (not Unlawful Detaine
                                                                                                                                                    r or wrongful eviction)     2., 5.
                                                     Warranty
                                                        (06)                  •         A6008 ContractNVarranty Breach -Seller Plaintiff (no fraud/ne
                                                                                                                                                      gligence)
                                                  (not insurance)                                                                                                               2., 5.
                                                                              •         A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                                                                1., 2., 5.
                                                                              •         A6028    Other Breach of Contract/Warranty (not fraud or negligence)
                           0
                              T
                                                                                                                                                                                1., 2., 5.
                             C
                            0                      Collections                •        A6002     Collections Case-Seller Plaintiff
                       0                                                                                                                                                       2., 5., 6.
                                                      (09)                    •        A6012     Other Promissory Note/Collections Case
                                                                                                                                                                               2., 5.
                                              Insurance Coverage
                                                     (18)                     •         A6015 Insurance Coverage (not complex)
                                                                                                                                                                               1., 2., 5., 8.
                                                 Other Contract               .         A6009 Contractual Fraud
                                                     (37)                                                                                                                      1., 2., 3., 5.
                                                                          •             A6031 Tortious Interference
                                                                                                                                                                               1., 2., 3., 5.
                                                                          •            A6027 Other Contract Dispute(not breach/insurance/fraud/n
                                                                                                                                                 egligenc       e)             1., 2., 3., 8.
                                                  Eminent
                                               Domain/Inverse             •            A7300 Eminent Domain/Condemnation              Number of parcels                        2.
           Real Property




                                              Condemnation (14)
                                               Wrongful Eviction
                                                    (33)                  •            A6023     Wrongful Eviction Case
                                                                                                                                                                               2., 6.

                                             Other Real Property          •           A6018 Mortgage Foreclosure
                                                                                                                                                                              2., 6.
                                                    (26)              M A6032 Quiet Title
                                                                                                                                                                              2., 6.
                                                                      •               A6060 Other Real Property (not eminent domain, landlord/tenant,
                                                                                                                                                      foreclos        ure)
Judicial Review Unlawful Detainer




                                                                                                                                                                              2., 6.
                                              Unlawful Detainer-
                                               Commercial (31)        •               A6021 Unlawful Detainer-Commercial (not drugs or wrongfu
                                                                                                                                               l eviction)                    2., 6.
                                             Unlawful Detainer-
                                              Residential (32)        •               A6020 Unlawful Detainer-Residential (not drugs or wrongfu
                                                                                                                                                l eviction)                   2., 6.
                                             Unlawful Detainer-
                                                Drugs (38)            •               A6022 Unlawful Detainer-Drugs
                                                                                                                                                                              2., 6.

                                            Asset Forfeiture (05)     M A6108                   Asset Forfeiture Case
                                                                                                                                                                              2., 6.
                                            Petition re Arbitration
                                                     (11)             •               A6115 Petition to Compel/Confirm/Vacate Arbitration
                                                                                                                                                                              2., 5.


                                        CIV 109 03-04 (Rev. 03/06)                          CIVIL CASE COVER SHEET ADDENDUM                                                     LASC, rule 2.0
                                        LASC Approved                                          AND STATEMENT OF LOCATION                                                               Page 2 of 4



                                                                                                                                                                                                     Exhibit 1
                                                                                                                                                                                                         9
                                             Case 2:21-cv-06864-AB-JDE Document 1-1 Filed 08/25/21 Page 6 of 14 Page ID #:13



                                                                SHOKT TITLE:
                                                                                                                                                             CASE NUMBER
                                                               CAMPOS v.         PHILIP MORRIS           (-V1-; A   (0c                                      19STCV32280
                                Judicial Review (Cont'd.)




                                                                           A                                                               B                                                 C
                                                                Civil Case Cover Sheet                                               Type of Action                             Applicable Reasons -
                                                                      Category No.                                                  (Check only one)                             See Step 3 Above
                                                                                                    El A6151 Writ - Administrative Mandamus
                                                                                                                                                                             2., 8.
                                                                    Writ of Mandate                 CI    A6152      Writ - Mandamus on Limited Court Case Matter
                                                                                                                                                                             2.
                                                                          (02)                      •     A6153     Writ - Other Limited Court Case Review
                                                                                                                                                                            2.
                                                                 Other Judicial Review
                                                                         (39)                       CI    A6150     Other Writ /Judicial Review                             2., 8.

                                                                    Antitrust/Trade
                                                                    Regulation (03)                 • A6003         Antitrust/Trade Regulation                              1., 2., 8.

                                                               Construction Defect (10)
                                                                                                    •    A6007 Construction defect                                          1., 2., 3.
                                                                Claims Involving Mass
                                                                      Tort (40)                 111      A6006      Claims Involving Mass Tort                              1., 2., 8.

                                                               Securities Litigation (28)       D        A6035 Securities Litigation Case
                                                                                                                                                                            1., 2., 8.
                                                                      Toxic Tort
                                                                 Environmental (30)             •        A6036 Toxic Tort/Environmental                                     1., 2., 3., 8.
                                                                Insurance Coverage
                                                                Claims from Complex             CI       A6014 Insurance Coverage/Subrogation (complex case only)           1., 2., 5., 8.
                                                                     Case (41)

                                                                                                •        A6141 Sister State Judgment                                        2., 9.
                                                                                                •        A6160 Abstract of Judgment
            Enforcement




                                                                                                                                                                            2., 6.
            of Judgment




                                                                    Enforcement
                                                                    of Judgment                 •        A6107 Confession of Judgment (non-domestic relations)
                                                                                                                                                                            2., 9.
                                                                         (20)                   •        A6140 Administrative Agency Award (not unpaid taxes)
                                                                                                                                                                           2., 8.
                                                                                                •        A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax
                                                                                                •        A6112 Other Enforcement of Judgment Case                          2., 8.
                                                                                                                                                                           2., 8., 9.
      Miscellaneous Civil




                                                                     RICO (27)                  •        A6033 Racketeering (RICO) Case
                                                                                                                                                                           1., 2., 8.
                                  10
                                  C                                                         •           A6030 Declaratory Relief Only                                      1., 2., 8.
                                0.                               Other Complaints           •           A6040 Injunctive Relief Only (not domestic/harassment)
                                                               (Not Specified Above)                                                                                       2., 8.
                                                                                            •           A6011 Other Commercial Complaint Case (non-tort/non-complex)
                                0                                                                                                                                          1., 2., 8.
                                                                        (42)                El A6000 Other Civil Complaint (non-tort/non-complex)
                                                                                                                                                                           1., 2., 8.
                                                              Partnership Corporation       •           A6113 Partnership and Corporate Governance Case
                                                                  Governance(21)                                                                                           2., 8.
Miscellaneous Civil Petitions




                                                                                            •           A6121 Civil Harassment
                                                                                                                                                                           2., 3., 9.
                                                                                            •           A6123 Workplace Harassment
                                                                                                                                                                           2., 3., 9
                                                                                            •           A6124 Elder/Dependent Adult Abuse Case
                                                                  Other Petitions                                                                                          2., 3., 9.
                                                               (Not Specified Above)        •           A6190 Election Contest
                                                                                                                                                                           2.
                                                                                            •           A6110 Petition for Change of Name
                                                                       (43)                                                                                                2., 7.
                                                                                            •           A6170 Petition for Relief from Late Claim Law
                                                                                            •                                                                              2., 3., 4., 8.
                                                                                                        A6100 Other Civil Petition
                                                                                                                                                                           2., 9.



                                                            CIV 109 03-04 (Rev. 03/06)                      CIVIL CASE COVER SHEET ADDENDUM                                              LASC, rule 2.0
                                                            LASC Approved                                      AND STATEMENT OF LOCATION                                                     Page 3 of 4



                                                                                                                                                                                                           Exhibit 1
                                                                                                                                                                                                             10
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     SHORT TITLE
                                                                                          CASE NUMBER
     CAMPOS v.        PHILIP MORRIS       SA                                              19STCV32280

    Item III. Statement of Location: Enter the address of the accident, party's residenc
                                                                                         e or place of business, performance, or
    other circumstance indicated in Item II., Step 3 on Page 1, as the proper reason
                                                                                      for filing in the court location you selected.

                 REASON: CHECK THE NUMBER UNDER COLUMN C                ADDRESS:
                        WHICH APPLIES IN THIS CASE                      8407 CEDROS AVE # 3

           J1.     2. V13. C2I 4. E 5. 06. E7. A8. E9. D10.
     CITY:                             STATE:       ZIP CODE
    LOS ANGELES                          CA        91402




   Item IV. Declaration of Assignment: I declare under penalty of perjury under the laws
                                                                                            of the State of California that the foregoing is
   true and correct and that the above-entitled matter is properly filed for assignment
                                                                                          to the STANLEY
                                                                                                      MOS K       courthouse in the
   CENTRAL                     District of the Los Angeles Superior Court (Code Civ. Proc., § 392 et seq., and LASC Local
                                                                                                                          Rule 2.0,
   subds. (b), (c) and (d)).




   Dated: 8/15/2019
                                                                                      (SIGNATURE OF ATTORNEY/FILING PARTY)




             PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO
                                                                    BE FILED IN ORDER TO
                              PROPERLY COMMENCE YOUR NEW COURT CASE:

       1.    Original Complaint or Petition.
       2. If filing a Complaint, a completed Summons form for issuance by the
                                                                              Clerk.
       3. Civil Case Cover Sheet form CM-010.

       4. Complete Addendum to Civil Case Cover Sheet form LASC Approve
                                                                           d CIV 109 03-04 (Rev. 03/06).
       5. Payment in full of the filing fee, unless fees have been waived.
      6.     Signed order appointing the Guardian ad Litem, JC form 982(a)(27), if the plaintiff
             under 18 years of age, or if required by Court.                                     or petitioner is a minor

      7.     Additional copies of documents to be conformed by the Clerk. Copies of the cover
             must be served along with the summons and complaint, or other initiating pleadingsheet and this addendum
                                                                                                in the case.




 CIV 109 03-04 (Rev. 03/06)              CML CASE COVER SHEET ADDENDUPufd                                                 LASC, rule 2.0
 LASC Approved                             AND STATEMENT OF LOCAL N                                                         Page 4 of 4


                                                                                                                                           Exhibit 1
                                                                                                                                             11
Case 2:21-cv-06864-AB-JDE Document 1-1 Filed 08/25/21 Page 8 of 14 Page ID #:15


                                                                                                                                     PLD-PI-001
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                    FOR COURT USE ONLY


      ISABEL CAMPOS
      8407 CEDROS AVE #3
      LOS ANGELES CA 91402
          TELEPHONE NO: 818-269-1374                           FAX NO. (Optional):

  E-MAIL ADDRESS (Optional):

      ATTORNEY FOR (Name):       IN PRO PER
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF                   LOS ANGELES
           STREET ADDRESS:       111 N HILL ST
           MAILING ADDRESS:
                                                                                                       CONFORMED COPY
          CITY AND ZIP CODE:     LOS ANGELES 90012                                                       ORIGINAL FILED
              BRANCH NAME:       STANLEY MUSK                                                         Superior Court of California
                                                                                                        Couoty of t (1 Ariocilea
                PLAINTIFF:       ISABEL CAMPOS
                                                                                                              JUL 16Z021
             DEFENDANT:          PHILLIP MORRIS L.A S A
                                                                                                   Sherri R. Carter, Executive Officer/Clerk
    V      DOES 1 TO        100                                                                           By: Nancy Alvarez, Deputy

   COMPLAINT—Personal Injury, Property Damage, Wrongful Death
            AMENDED (Number): I
   Type check all that apply):
       MOTOR VEHICLE           OTHER (specify):
            Property Damage       Wrongful Death
            Personal Injury       Other Damages (specify):
   Jurisdiction (check all that apply):                                                           CASE NUMBER:
        ACTION IS A LIMITED CIVIL CASE
        Amount demanded              does not exceed $10,000                                                   19STCV32280
                                     exceeds $10,000, but does not exceed $25,000
        ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)
        ACTION IS RECLASSIFIED by this amended complaint
                   from limited to unlimited
                   from unlimited to limited
 1. Plaintiff (name or names):        ISABEL CAMPOS
     alleges causes of action against defendant (name or names):
     PHILLIP MORRIS u s
 2. This pleading, including attachments and exhibits, consists of the following number of pages:
 3. Each plaintiff named above is a competent adult
    a.       except plaintiff (name):
             (1)       a corporation qualified to do business in California
             (2)       an unincorporated entity (describe):
             (3)       a public entity (describe):
             (4)       a minor          an adult
                       (a)        for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                       (b)        other (specify):
             (5)       other (specify):
     b.           except plaintiff (name):
                  (1)      a corporation qualified to do business in California
                  (2)      an unincorporated entity (describe):
                  (3)      a public entity (describe):
                  (4)      a minor          an adult
                           (a)         for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                           (b)         other (specify):
                  (5)      other (specify):

             Information about additional plaintiffs who are not competent adults is shown in Attachment 3.                                   Page 1 of 3
  Form Approved for Optional Use                                                                                         Code of Civil Procedure, § 425.12
    Judicial Council of California
                                                      COMPLAINT—Personal Injury, Property                                             www.courtinto.ca.gov
 PLD-PI-001 [Rev. January 1, 2007]                         Damage, Wrongful Death




                                                                                                                                                 Exhibit 1
                                                                                                                                                   12
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                                                                                                                                 PLD-PI-001
     SHORT TITLE:                                                                                   CASE NUMBER:

      CAMPOS v. PHILLIP MORRIS LA s                                                                             19STCV32280

 4.             Plaintiff (name):
                is doing business under the fictitious name (specify):

        and has complied with the fictitious business name laws.
5. Each defendant named above is a natural person
   a. ✓ except defendant (name):                                              c.   except defendant (name):
           (1)      a business organization, form unknown                          (1)      a business organization, form unknown
           (2)      a corporation                                                  (2)      a corporation
           (3)      an unincorporated entity (describe):                           (3)      an unincorporated entity (describe):

                   (4)          a public entity (describe):                        (4)       a public entity (describe):

                   (5)          other (specify):                                   (5)       other (specify):




      b.           except defendant (name):                                   d.   except defendant (name):
                            a business organization, form unknown                           a business organization, form unknown
                            a corporation                                                   a corporation
                            an unincorporated entity (describe):                            an unincorporated entity (describe):

                               a public entity (describe):                                   a public entity (describe):

                               other (specify):                                              other (specify):


                Information about additional defendants who are not natural persons is contained in Attachment 5.
6.         The true names of defendants sued as Does are unknown to plaintiff.
           a.   ✓ Doe defendants (specify Doe numbers): 1 - 100                          were the agents or employees of other
                    named defendants and acted within the scope of that agency or employment.
           b.       Doe defendants (specify Doe numbers): 1 - 100                          are persons whose capacities are unknown to
                    plaintiff.
7.               Defendants who are joined under Code of Civil Procedure section 382 are (names):




8.      This court is the proper court because
        a.       at least one defendant now resides in its jurisdictional area.
        b.       the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area.
        c.       injury to person or damage to personal property occurred in its jurisdictional area.
        d.       other (specify):




9.               Plaintiff is required to comply with a claims statute, and
        a.           has complied with applicable claims statutes, or
        b.           is excused from complying because (specify):




PLD-PI-001 [Rey. January 1, 20071                      COMPLAINT—Personal Injury, Property                                            Page 2 of 3
                                                            Damage, Wrongful Death




                                                                                                                                           Exhibit 1
                                                                                                                                             13
Case 2:21-cv-06864-AB-JDE Document 1-1 Filed 08/25/21 Page 10 of 14 Page ID #:17



                                                                                                                                    PLD-PI-001
   SHORT TITLE:                                                                                    CASE NUMBER:


   CAMPOS v. PHILLIP MORRIS                             (A s   iNC,                                             19STCV32280

 10. The following causes of action are attached and the statements above apply to each (each complaint must have one or more
     causes of action attached):
     a.       Motor Vehicle
     b.       General Negligence
     c.       Intentional Tort
     d. ✓ Products Liability
     e.       Premises Liability
     f.       Other (specify):




 11. Plaintiff has suffered
     a. ✓ wage loss
     b.         loss of use of property
     c. ✓ hospital and medical expenses
     d. ✓ general damage
     e.         property damage
     f.   ✓ loss of earning capacity
     g.         other damage (specify):




 12.             The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
         a.         listed in Attachment 12.
         b.         as follows:




 13. The relief sought in this complaint is within the jurisdiction of this court.



 14. Plaintiff prays for judgment for costs of suit; for such relief as is fair, just, and equitable; and for
     a. (1) ✓ compensatory damages
        (2) ✓ punitive damages
        The amount of damages is (in cases for personal injury or wrongful death, you must check (1)):
        (1)        according to proof
        (2)        in the amount of: $

 15.            The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph numbers):




 Date: C\

 ISABEL CAMPOS
                                 (TYPE OR PRINT NAME)                                        (SIGNATURE OF PLAINTIFF OR ATTORNEY)

 PLD-PI-001 [Rev. January 1, 2007]                      COMPLAINT—Personal Injury, Property                                             Page 3 of 3

                                                             Damage, Wrongful Death




                                                                                                                                            Exhibit 1
                                                                                                                                              14
Case 2:21-cv-06864-AB-JDE Document 1-1 Filed 08/25/21 Page 11 of 14 Page ID #:18


                                                                                                                                              PLO-PI-001(5)
       SHORT TITLE:                                                                                          CASE NUMBER
       CAMPOS v.              PHILIP MORRIS kA S A I ro                                                                    19STCV32280
                (1)                                     CAUSE OF ACTION—Products Liability                                         Page              1
                                (number)
                ATTACHMENT TO               Complaint           Cross - Complaint
                (Use a separate cause of action form for each cause of action.)
                Plaintiff (name):           ISABEL CAMPOS

                Prod. L-1. On or about (date):                                                plaintiff was injured by the following product:


                  ?kik LI_ e c\AD12,1 1S vlSb, 1
                                                                             c •
               Prod. L-2. Each of the defendants knew the product would be purchase
                                                                                        d and used without inspection for defects.
                            The product was defective when it left the control of each defendant. The product
                                                                                                              at the time of injury
                            was being
                                    used in the manner intended by the defendants.
                             ✓      used in the manner that was reasonably foreseeable by defendants as involving
                                                                                                                   a substantial danger not
                                    readily apparent. Adequate warnings of the danger were not given.
               Prod. L-3. Plaintiff was a
                             ✓      purchaser of the product.                         ✓ user of the product.
                                    bystander to the use of the product.                   other (specify):

              PLAINTIFF'S INJURY WAS THE LEGAL (PROXIMATE) RESULT OF
                                                                                THE FOLLOWING:
              Prod. L- 4.     Count One—Strict liability of the following defendants who
                              a. ✓   manufactured or assembled the product (names):
                                                   MARLBORO RED CIGARRETES

                                                            Does 1                to 100
                                        b.        designed and manufactured component parts supplied to the manufacturer
                                                                                                                                  (names):



                                                             Does 1                   to 100
                                       c.         sold the product to the public (names):



                                                       Does 1                    to 100
             Prod. L-5.                 Count Two—Negligence of the following defendants who owed a duty
                                                                                                                    to plaintiff (names):
                                        PHILIP MORRIS USA
                                                 ✓ Does                           to 100
            Prod. L-6.                  Count Three—Breach of warranty by the following defendants (names):
                                        PHILIP MORRIS USA
                                                           Does                    to 100
                                       a.    ✓    who breached an implied warranty
                                       b.         who breached an express warranty which was
                                                         written         oral
            Prod. L-7.                 The defendants who are liable to plaintiffs for other reasons and the reasons for
                                                                                                                         the liability are
                                            listed in Attachment-Prod. L-7           as follows:
                                             PHILIP MORRIS USA INC

  Form Approved for Optional Use                                                                                                                        Page 1 of 1
    Judicial Council of California                    CAUSE OF ACTION—Products Liability                                          Code of Civil Procedure, § 425.12
PLD-PI-001(5) [Rev. January 1, 2007]                                                                                                          www.courfinfo.ca.gov




                                                                                                                                                             Exhibit 1
                                                                                                                                                               15
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                                                                                                                                                        POS-010
       ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                               FOR COURT USE ONLY
    ISABEL CAMPOS
  — 8407 CEDROS AVE #3
    LOS ANGELES CA 91402

                 TELEPHONE NO.:   818-269-1374               FAX NO. (Optional):
   E-MAIL ADDRESS (Optional):
         ATTORNEY FOR (Name):     IN PRO PER
       SUPERIOR COURT OF CALIFORNIA COUNTY OF                     LOS ANGELES
              STREET ADDRESS:     111 N HILL ST
          MAILING ADDRESS:

         CITY AND ZIP CODE        LOS ANGELES 90012
                BRANCH NAME:      STANLEY MUSK
         PLAINTIFF/PETITIONER:           ISABEL CAMPOS                                                      CASE NUMBER:

                                                                                                                              19STCV32280
  DEFENDANT/RESPONDENT:                   PHILLIP MORRIS O. S• A 1 AJ               C_

                                                                                                            Ref. No. or File No.:
                                      PROOF OF SERVICE OF SUMMONS

                                       (Separate proof of service is required for each party served.)
  1. At the time of service I was at least 18 years of age and not a party to this action.
  2. I served copies of:
          a.            summons
         b.             complaint
         c.             Alternative Dispute Resolution (ADR) package
         d.             Civil Case Cover Sheet (served in complex cases only)
         e.             cross-complaint
         f.             other (specify documents):

  3.     a. Party served (specify name of party as shown on documents served):
               PHILIP MORRIS USA k

         b.           Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                      under item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
                      CAPITAL CORPORATE SERVICES INC (Agent for service of process)
  4.     Address where the party was served:
         6601 W BROAD ST/RICHMOND VA 23230
  5.     I served the party (check proper box)
         a.         by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                    receive service of process for the party (1) on (date):                      (2) at (time):
         b.             by substituted service. On (date):                     at (time):            I left the documents listed in item 2 with or
                        in the presence of (name and title or relationship to person indicated in item 3):


                       (1)             (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                                       of the person to be served. I informed him or her of the general nature of the papers.

                       (2)             (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                       place of abode of the party. I informed him or her of the general nature of the papers.

                       (3)             (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                       address of the person to be served, other than a United States Postal Service post office box. I informed
                                       him or her of the general nature of the papers.
                       (4)             I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
                                       at the place where the copies were left (Code Civ. Proc., § 415.20). I mailed the documents on
                                       (date):               from (city):                           or        a declaration of mailing is attached.
                       (5)             I attach a declaration of diligence stating actions taken first to attempt personal service.
                                                                                                                                                           Pagel of 2
   Form Adopted for Mandatory Use                                                                                                     Code of Civil Procedure, § 417.10
     Judicial Council of California                        PROOF OF SERVICE OF SUMMONS
   POS-010 [Rev. January 1, 2007]




                                                                                                                                                              Exhibit 1
                                                                                                                                                                16
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           PLAINTIFF/PETITIONER:           ISABEL CAMPOS                                                     CASE NUMBER

       DEFENDANT/RESPONDENT:               PHILLIP MORRIS r✓1 S V, l N                                                     19STCV32280


    5.    c.     V        by mail and acknowledgment of receipt of service. I mailed
                                                                                         the documents listed in item 2 to the party, to the
                          address shown in item 4, by first-class mail, postage prepaid,

                          (1) on (date):                                              (2) from (city):
                          (3)        with two copies of the Notice and Acknowledgment of Receipt
                                                                                                       and a postage-paid return envelope addressed
                                     to me. (Attach completed Notice and Acknowledgement of
                                                                                                  Receipt.) (Code Civ. Proc., § 415.30.)
                          (4)         to an address outside California with return receipt requeste
                                                                                                    d. (Code Civ. Proc., § 415.40.)
          d.              by other means (specify means of service and authorizing code
                                                                                        section):



                          Additional page describing service is attached.

   6. The "Notice to the Person Served" (on the summons) was completed
                                                                            as follows:
       a.        as an individual defendant.
      b.         as the person sued under the fictitious name of (specify):
      c.         as occupant.
      d.         On behalf of (specify):
                          under the following Code of Civil Procedure section:
                                     I   416.10 (corporation)                             415.95 (business organization, form unknown)
                                         416.20 (defunct corporation)                     416.60 (minor)
                                         416.30 (joint stock company/association)   I I   416.70 (ward or conservatee)
                                         416.40 (association or partnership)        I 1   416.90 (authorized person)
                                         416.50 (public entity)                           415.46 (occupant)
  7.     Person who served papers
                                                                                    I 1   other:
         a. Name: FABIO TORRES
         b. Address: 8407 CEDROS AVE #                   3 LOS ANGELES CA 91402
         c. Telephone number: 818-943-0799
         d. The fee for service was: $ -0-
         e. I am:
               (1)    V     not a registered California process server.
               (2)          exempt from registration under Business and Professions Code
                                                                                           section 22350(b).
               (3)          a registered California process server:
                            (i)         owner          employee         independent contractor.
                            (ii) Registration No.:
                            (iii) County:

  8.             I declare under penalty of perjury under the laws of the State of Californi
                                                                                             a that the foregoing is true and c rect.
                 Of

  9.             I am a California sheriff or marshal and I certify that the foregoing is
                                                                                          true and     of   ect.
 Date:


 FABIO TORRES
           (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)
                                                                                                               (SIGNATURE )




 POS-010 [Rev. January 1, 2007]
                                                       PROOF OF SERVICE OF SUMMONS                                                       Page 2 of 2




                                                                                                                                               Exhibit 1
                                                                                                                                                 17
            g 4.      C                                                              CERTIFIED MAIL'
                   Ark)                                                                                                              U.S. PCS1
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                          Building:    HQ
                           Depart:     HQ
                           Notes:

                           Date Rec'd:    7/26/2021 7:17:59 AM




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                                                               INC      I va   USA




                                         clo CAPITAL CORPORATE SERVICES INC
                                         (Agent for Service of Process)
                                         66011/14BROAD ST RICHMOND VA 23230
                                                                                                                                                  Case 2:21-cv-06864-AB-JDE Document 1-1 Filed 08/25/21 Page 14 of 14 Page ID #:21




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Exhibit 1
